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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:08MJ75
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
OSCAR COLMENARES GONZALEZ,                        )     RE: MATERIAL WITNESS
                                                  )   NOE ALBERTO ESPINOZA-SOLIS
                     Defendant.                   )


       This matter is before the court on the application of the United States for the arrest
and detention of a material witness, Noe Alberto Espinoza-Solis. The court having found
the application set forth the materiality of the witness’s testimony in the above-captioned
matter and it may become impracticable to secure the presence of the witness by
subpoena, an arrest warrant was issued for the arrest of witness Espinoza-Solis on April10,
2008, pursuant to 18 U.S.C. § 3144. Following the witness’s arrest, the witness Espinoza-
Solis was brought before the undersigned magistrate judge for a hearing on April 11, 2008.
       Espinoza-Solis appeared with his court-appointed counsel, Brandie M. Fowler.
Assistant U.S. Attorney Frederick D. Franklin represented the United States. During the
hearing, Laura Garcia-Hein, a certified interpreter in the Spanish language served as
interpreter.
       The court took judicial notice of the application and attached affidavit. Through
counsel, Espinoza-Solis requested a hearing on the government’s request for her detention
as a material witness. The hearing was continued to April 15, 2008. Espinoza-Solis again
appeared with his counsel and presented no evidence on the government’s request that
he be detained as a material witness.
       I find that the testimony of Espinoza-Solis would be material in this criminal
proceeding against Oscar Colmenares Gonzalez.              I further find it may become
impracticable to secure the presence of the witness by subpoena if the witness absconds
or is deported to Mexico if he were released from custody on conditions. Since the BICE
has placed a detainer with the U.S. Marshal for deportation proceedings regarding the
witness and the witness has no roots in this community or state, I find there is no condition
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or combination of conditions that would reasonablely assure the presence of the witness
for the upcoming criminal proceedings in this matter if he were released on conditions.


       IT IS ORDERED:
       1.     The witness, Noe Alberto Espinoza-Solis, is committed to the custody of the
Attorney General or his designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The witness shall be afforded a reasonable opportunity
for private consultation with his counsel. On order of a court of the United States or on
request of an attorney for the Government, the person in charge of the corrections facility
shall deliver the witness to the United States Marshal for the purpose of an appearance in
connection with a court proceeding.
       2.     Any motion or request for a deposition of the witness pursuant to Fed. R.
Crim. P. 15(a) and 18 U.S.C. § 1344 shall be served on all parties to this case.
       DATED this 16th day of April, 2008.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge




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